     Case 23-54125-wlh                      Doc 29            Filed 06/05/23 Entered 06/05/23 14:07:30                                       Desc Main
                                                              Document      Page 1 of 2


                                          UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

In re:    BYUNG HO KANG AND SAERA YOO                                                                                           Case No. 23-54125-WLH
                    Debtor                                                                                                      Chapter 7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

         For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                    2,000.00
         Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . .$                       2,000.00
         Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$         0.00

2. $ 338.00 of the filing fee has been paid. $37.00 was paid for credit report. $25.00 was paid for credit counseling course.

3. The source of the compensation paid to me was:

         x Debtor                  ¨ Other (specify)

4. The source of compensation to be paid to me is:

         x Debtor                  ¨ Other (specify)


5.       ¨            I have not agreed to share the above-disclosed compensation with any other person unless they are
                      members and associates of my law firm.

         x            I have agreed to share the above-disclosed compensation with another person or persons who are not members or
                      associates of my law firm.
                               Susan Gantt may attend Meeting of Creditors on behalf of Debtor(s). Debtor(s) has/have signed an
                               agreement agreeing to substitution of counsel at hearing.

6. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      Attorney shall represent Client in all remaining aspects of this case (with exception of Adversary Proceedings as set forth
      below). These services include, but are not limited to, analysis of the debtor’s financial situation, and rendering advice to the
      debtor in determining whether to file a petition in bankruptcy, preparing and filing necessary pleading, including but not
      limited to petition, schedules, statements of affairs, and plan which may be required; appearing at the 341 Meeting of
      Creditors; representing Client in contested matters case (with exception of Adversary Proceedings as set forth below); advising
      and assisting Client concerning reaffirmation agreements; advising and assisting Client concerning the required personal
      financial management course; advising and assisting Client with trustee and court requirements; communicating and
      negotiating with Client’s creditors as appropriate; and providing all other appropriate legal counsel to Client about the Client’s
      case.

7. Debtor has received a copy of the Rights and Responsibilities Statement.

8. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
    Case 23-54125-wlh            Doc 29       Filed 06/05/23 Entered 06/05/23 14:07:30                        Desc Main
                                              Document      Page 2 of 2


                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                        (Continuation Sheet)


        The contract does not include the following and Debtor must pay additional fee listed:
                Amendment to add creditors                           $100.00 plus $32 court fee
                Post-filing amendment to Schedules                   $100.00 plus $32 court fee
                Motion to Rescind Reaffirmation Agreement            $50.00
                Motion for Violation of the Automatic Stay           $3,000.00
                Motion for Violation of the Discharge Order          $3,000.00


        The contract of employment does NOT include representation of Client, either as Plaintiff or Defendant, in any Adversary
        Proceedings filed in or in connection with this case. Should Attorney agree to represent Client in an adversary proceeding,
        a different contract of employment shall be executed between the parties under such terms and conditions and the parties
        deem mutually acceptable. If Client is served with an adversary proceeding complaint, Attorney shall take appropriate
        steps to protect and represent Client’s best interest, bill at an initial retainer payment of $5,000.00 at the hourly rate of
        $400.00 for attorney and $100.00 for paralegals, until such time as Clients inform Attorney that Client does not wish to
        litigate the matter; Client affirmatively declines Attorney’s representation; Client obtains other counsel; Client enters into a
        new retainer contract with Attorney; or Attorney is allowed to withdraw by the Court.

                                                        CERTIFICATION

         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation
of the debtor(s) in this bankruptcy proceeding.


        06-05-2023                                              ___/s/___________________________________
        Date                                                    Soo J. Hong, GA Bar No. 129608
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